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040658/06086/SRS/JAH/CD

                     UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

FEDERAL NATIONAL MORTGAGE
ASSOCIATION (“FANNIE MAE”), A
CORPORATION ORGANIZED AND
EXISTING UNDER THE LAWS OF THE
UNITED STATES OF AMERICA,

               Plaintiffs,

v.

GEORGE L. OBRADOVICH; JENNIFER M.
OBRADOVICH; UNKNOWN OWNERS AND
NON-RECORD CLAIMANTS,

               Defendants.                              No. 14-cv-4664

GEORGE L. OBRADOVICH and JENNIFER                       Hon. Judge Andrea R. Wood
M. OBRADOVICH,

               Counter/Third-Party Plaintiffs,

v.

FEDERAL NATIONAL MORTGAGE
ASSOCIATION (“FANNIE MAE”);
SETERUS, INC.; SAFEGUARD
PROPERTIES, LLC, AND YJM
DEVELOPMENT,

               Counter/Third-Party Defendants.

                       YJM DEVELOPMENT, INC.’S
             RENEWED RULE 56 MOTION FOR SUMMARY JUDGMENT

        Third-Party Defendant YJM DEVELOPMENT, INC., by and through its attorneys,

Stephanie R. Stomberg, Jeffrey A. Hesser, and Cliff Demosthene, hereby renews its previously filed

motion for summary judgment pursuant to Rule 56 for the reasons set forth in the previously filed
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motion, memorandum of law and statements of fact, which are incorporated and adopted herein by

reference.

        YJM Development, Inc. previously filed its Rule 56 Motion for Summary Judgment (See

DKT #157) on December 14, 2017. In further support of its Rule 56 Motion for Summary

Judgment, YJM Development, Inc. also filed its Memorandum of Law in support (See DKT #158)

and a Local Rule 56.1 Statement of Material Facts (See DKT #159). Copies of the Motion,

Memorandum and Statement of Material Facts, along with any exhibits and Court materials

referenced therein, are hereby incorporated and adopted as if fully set forth herein. No briefing

schedule had been set by the Court.

        On March 13, 2018, the Court entered an order (See DKT #176) denying the pending

motion for summary judgment without prejudice and allowing the parties leave to reinstate the

motion and/or resume a briefing schedule accordingly.

        Thereafter, the Court entered an order (See DKT #179) granting leave to renew the

previously filed Motion(s) for Summary Judgment by May 30, 2018, which this party hereby elects

to do by the instant motion. YJM Development, Inc. hereby elects to adopt the previously filed

briefs and supporting documents referenced herein (See DKT #s 157, 158 and 159).

        The parties propose the following briefing schedule be entered by the Court, presuming

other parties also elect to renew other previously filed Motions for Summary Judgment, which were

to be filed by May 30, 2018: Counter/Third-Party Plaintiffs, George L. Obradovich and Jennifer M.

Obradovich shall have until June 29, 2018 to file any responses to the Motions for Summary

Judgment filed by Counter/Third-Party Defendants, and Counter/Third Party Defendants shall have

until July 20, 2018 to file any replies in further support of the Motions for Summary Judgment. The

matter is next set for status on July 12, 2018 at 9:00 a.m.




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       WHEREFORE, Third-Party Defendant YJM DEVELOPMENT, INC., renews its Motion

for Summary Judgment, prays its motion be granted, and judgment be entered in its favor and

against the third-party plaintiffs George L. Obradovich and Jennifer M. Obradovich as a matter of

law.



                                            Respectfully submitted,

                                            CASSIDAY SCHADE LLP


                                            By: /s/Jeffrey A. Hesser
                                               One of the Attorneys for Third-Party Defendant
                                               YJM DEVELOPMENT, INC.


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 25, 2018, I electronically filed the foregoing document with

the clerk of the court for Northern District of Illinois using the electronic case filing system of

the court. The electronic case filing system sent a “Notice of E-Filing” to the attorneys of record

in this case.


                                                                               /s/Jeffrey A. Hesser

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